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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


INTERNATIONAL BROTHERHOOD                )
OF TEAMSTERS, AIRLINE DIVISION,          )
et al.,                                  )
                                         ) CASE NO. 1:19-CV-02723-CRC
           Plaintiffs,                   )
                                         ) JUDGE CHRISTOPHER R. COOPER
v.                                       )
                                         )
ATLAS AIR, INC.,                         )
                                         )
           Defendant.                    )


                   PLAINTIFFS’ MEMORANDUM IN OPPOSITION

                     TO DEFENDANT’S MOTION TO DISMISS




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       NOW COME Plaintiffs International Brotherhood of Teamsters, Airline Division,

International Brotherhood of Teamsters and International Brotherhood of Teamsters, Local 2750

(hereinafter “Plaintiffs”), by and through the undersigned counsel, and hereby file this

Memorandum in Opposition to the Motion to Dismiss of Defendant Atlas Air, Inc. (hereinafter

“Defendant”), filed October 11, 2019. Doc. 7.


  I.   INTRODUCTION


       On September 11, 2019, Plaintiffs International Brotherhood of Teamsters, Airline

Division (“IBT”) and Airline Professionals Association, Teamsters Local 1224 (“Local 1224”)

filed their Complaint in this action against Defendant Atlas Air, Inc. (“Atlas”, “Company” or

“Defendant”). Doc. 1. On October 11, 2019, the IBT chartered IBT Local 2750 (“Local 2750”)

to represent Atlas pilots, removing responsibility for representing them from Local 1224. On

October 28, 2019, the IBT filed a motion to substitute Local 2750 as a party for Local 1224, and

on October 31, 2019, the Court granted this motion. Doc. 11. Thus, IBT and Local 2750

(collectively, the “Union”) are Plaintiffs in this matter while Local 1224 is no longer a Plaintiff.

       This case arises from a Decision and Award (“Award”) issued by the Atlas Airlines

System Board of Adjustment (“Atlas SBA”), an arbitration tribunal chaired by neutral Arbitrator

George Nicolau, who was assisted by a Company-appointed and a Union-appointed SBA

member. That Award issued on August 26, 2019 and was signed by Arbitrator Nicolau and the

Company-appointed SBA member; the Union-appointed SBA member dissented. On its face, the

Award contains a number of fatal flaws that cause it to violate the Railway Labor Act, 45 U.S.C.

§151, et seq. (“RLA”), and the McCaskill-Bond Amendment, 49 U.S.C. §42112 (“McCaskill-

Bond”), rendering it unenforceable. Accordingly, Plaintiffs filed the instant action to vacate the



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Award on or about September 11, 2019. Rather than filing an answer and/or counterclaim, on

October 11, 2019, Defendant filed the instant motion to dismiss (the “Motion”) under Fed. R.

Civ. R. 12(b)(6).

         On October 25, 2019, Defendant then filed its own complaint against Plaintiffs to enforce

the Award in this case as well as a related case in which Plaintiffs challenged an arbitrator’s

award rendered by the Southern Air System Board of Adjustment regarding the integration of

Atlas and Southern Air pilots. See Atlas Air et al. v. International Brotherhood of Teamsters,

Airline Division, et al., Case 1:19-cv-03223-CRC. On October 31, 2019, Defendant moved for

summary judgment in that case. The Court there stayed summary judgment briefing pending

resolution of this Motion as well as the Defendant’s Motion to Dismiss in the related case of

International Brotherhood of Teamsters, et al. v. Southern Air, Case No. 1:19-cv-2723-CRC.

         For the following reasons, Defendant’s Motion should be denied.


 II.     THE COURT MUST DISREGARD THE EVIDENTIARY MATTERS OUTSIDE
         OF THE PLEADINGS ATTACHED TO DEFENDANT’S MOTION TO DISMISS
         AND DECIDE THE MOTION AS A MOTION TO DISMISS

         Ironically here, Defendant asserts that Plaintiffs are attempting in their Complaint to “re-

litigate” the arbitration, but it is not Plaintiffs who attached to their Complaint all the evidence

and arguments made before the arbitrator, e.g., the arbitration transcript, the arbitration exhibits

and the parties’ post-arbitration hearing briefs. Doc. 7, P. 2 and Doc. 7-1, P. 6, Exs. A-G.

Rather, as is appropriate in an action to vacate an arbitration award, Plaintiffs merely referenced

and attached the documents this Court should use to determine the matter before it: the

Teamsters Polar-Atlas collective bargaining agreement (“CBA”) and the Award itself. Doc. 1,

Ex. A.



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       Inexplicably here, Defendant, filed a Fed. R. Civ. P. 12(b)(6) motion to dismiss, although

in most every other action to enforce or vacate an arbitration award a party files a complaint (or

petition) to vacate; the other party files an answer, with a corresponding counter-claim for

enforcement; and the court issues a scheduling order, including a schedule for dispositive

motions, i.e., motions for summary judgment (indeed, the Defendant filed a motion for summary

judgment in the enforcement action it filed on or about October 25, 2019). See Andrews v.

Louisville & Nashville Railroad Co., 406 U.S. 320, 325 (1972).

       Since Defendant filed a motion to dismiss here, the Court must decide the Motion

without re-litigating the arbitration and cannot consider matters outside the pleadings. See Fed.

R. Civ. P. 12(d). To be sure, “[i]n determining whether a complaint fails to state a claim under

Rule 12(b)(6), a court ‘may consider only the facts alleged in the complaint, any documents

either attached to or incorporated in the complaint and matters of which [the court] may take

judicial notice.’” Trudeau v. FTC, 456 F.3d 178, 183 (D.C. Cir. 2006) quoting EEOC v. St.

Francis Xavier Parochial Sch., 117 F.3d 621, 624–25 (D.C. Cir. 1997).

       Plaintiffs agree with Defendant that in deciding a motion to dismiss a “court may

consider documents attached to a motion to dismiss, without converting the motion into a motion

for summary judgment, if those documents’ authenticity is not disputed, they were referenced in

the complaint, and they are ‘integral’ to one or more of the plaintiff’s claims.” Doc. 7-1, P. 10

citing Libre By Nexus v. Buzzfeed, Inc., 311 F. Supp. 3d 149, 153 (D.D.C. 2018) citing Kaempe

v. Myers, 367 F.3d 958, 965 (D.C. Cir. 2004) and Banneker Ventures, LLC v. Graham, 798 F.3d

1119, 1133 (D.C. Cir. 2015) (“The prototypical incorporation by reference occurs where a

complaint claims breach of contract, and either party attaches to its pleading an authentic copy of

the contract itself...[b]ecause the contract is a legally operative document that is a necessary



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element of the claim, the contract is “integral” to the plaintiff's claim—it ‘form[s] the basis for a

claim or part of a claim.’”)(brackets in original, internal citation omitted); see, e.g., Busby v.

Capital One, N.A. 932 F.Supp.2d 114 (D.D.C. 2013) (a promissory note was necessarily relied

upon by a complainant in drafting a complaint); Billups v. Laboratory Corporation of America,

233 F.Supp.3d 20 (D.D.C. 2017) (a compensation plan was necessarily relied upon in a breach of

the plan action); Bailey v. CitiMortgage, Inc. 13 F.Supp.3d 29 (D.D.C. 2014) (a real property

sale contract was necessarily relied upon in a breach of contract action); Ghori-Ahmad v. U.S.

Com'n on Intern. Religious Freedom, 969 F.Supp.2d 1120 (D.D.C. 2013) (the court declined to

consider a scope of work and order documents attached to a motion to dismiss but not a

complaint in a civil rights discrimination action) citing Prince George's Hosp. Ctr. v. Advantage

Health Plan, Inc., 865 F. Supp. 2d 47, 51 (D.D.C. 2012) (consideration of contractual documents

that were “central to [plaintiff's] claims”); In re APA Assessment Fee Litig., 862 F. Supp. 2d 1, 8

(D.D.C.2012) (consideration of membership bylaws where “plaintiffs' claim revolve[d] around

whether payment of [a] special assessment was required for membership”); Strumsky v.

Washington Post Co., 842 F.Supp.2d 215, 218 (D.D. C.2012) reconsideration denied, 922

F.Supp.2d 96 (D.D.C.2013) (review of benefit plan documents where “plaintiff's entire

complaint centers on the retirement benefits that he contends he is entitled to receive”).

       Here, the only matters referenced in and attached to Plaintiff’s Complaint, and “integral”

to that Complaint before the Court, are the CBA and Award. But Defendant cites an Eastern

District of New York District Court decision for the proposition that this Court may consider

documents simply because those documents are attached to a party’s motion and a non-moving

party may have relied on the document in drafting its complaint. Doc. 7-1, P. 11 citing Smith v.

Am. Eagle Airlines, Inc., 2008 WL 2600857, at *2 (E.D.N.Y. July 1, 2008). That decision, in



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addition to not being binding or an authority in this Circuit, is contrary to the foregoing explicit

holding of this Circuit that a document must both be referenced in a complaint and integral to the

complaint to be considered in relation to a 12(b)(6) motion. See Libre By Nexus v. Buzzfeed,

Inc., 311 F. Supp. at 153 citing Kaempe, 367 F.3d at 965. The same is true of the Southern

District of Florida and a District of Minnesota cases cited by Defendant for the proposition that

this Court may, in the context of a 12(b)(6) motion, consider the arbitration transcript, exhibits in

the arbitration and the parties’ post-arbitration hearing briefs. Doc. 7-1, P. 11 citing Gottlieb v.

Janney Montgomery Scott LLC, 2007 WL 9701991, at *2 (S.D. Fla. 2007) and Sladek v.

Northwest Airlines, Inc., 2001 WL 1640054, at *2 (D. Minn. 2001). In fact, the circumstances in

Gottlieb are not as Defendant depicts in its Motion: the arbitration record considered in Gottlieb

did not involve transcripts, arbitration exhibits and post-arbitration hearing briefs as Defendant

proffer here, but rather, only the arbitration award itself. Gottlieb at *2. In Sladek, the court

found the arbitration transcript to be a “public record” and on that basis considered it in relation

to the motion to dismiss, but without explaining how it came to the conclusion that the transcript

was a public record. Sladek at *2. In the instant matter, the arbitration transcript is not a “public

record.” This was a private labor arbitration before the parties SBA.

       Finally, in its Motion Defendant cites this Court’s case of Hinton v. Corr. Corp. of Am.,

624 F. Supp. 2d 45, 46 (D.D.C. 2009) for the proposition that the Court should consider the

arbitration file attached to its Motion. Doc. 7-1, P. 10. The Court’s holding in Hinton, however,

does not support Defendant’s attempt to style a motion for summary judgment as a motion to

dismiss. Indeed, the Hinton court did write that “matters that are not ‘outside’ the pleadings a

court may consider on a motion to dismiss include...documents upon which a plaintiff’s

complaint necessarily relies even if the document is produced not by the plaintiff in the



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complaint by the defendant in a motion to dismiss." Id. (emphasis added); Doc. 7-1, P. 10. But a

review of the Complaint here makes it clear that Plaintiffs did not “necessarily rely” on the

documents attached to Defendant’s Motion. Rather, the documents relied on by Plaintiffs, and

necessarily so in this action to vacate the Award, were the CBA and the Award. Plaintiffs did

not rely on the arbitration transcript, arbitration exhibits or the parties’ post-hearing briefs in

their Complaint, nor would it be necessary for Plaintiffs to do so to vacate the Award.

       The Court should decide Defendant’s Motion as a motion to dismiss, not as a motion for

summary judgment and confine its consideration to the pleadings and the documents relied upon

in the drafting of and integral to the Complaint: the Atlas CBA and the Award. By filing an

improper motion to dismiss, Defendant has circumvented the process, depriving Plaintiffs of a

responsive answer to their claims setting forth all of Defendant’s defenses, which may be

necessary for either discovery or actual summary judgment proceedings.


III. DEFENDANT’S MOTION TO DISMISS SHOULD BE DENIED
    A. STANDARD OF REVIEW WITH RESPECT TO RULE 12(b)(6) MOTION

       The Federal Rules of Civil Procedure require only that a plaintiff provide “a short and

plain statement of the claim that will give the defendant fair notice of what the plaintiff's claim is

and the grounds upon which it rests.” See Erickson v. Pardus, 551 U.S. 89 (2007) citing Fed. R.

Civ. Pro. 8(a)(2). This Circuit has further found that “[e]xcept for allegations of fraud or mistake

... we do not require ‘detailed factual allegations’ for a claim to survive a motion to dismiss.”

Banneker Ventures, LLC at 1129 quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       A Rule 12(b)(6) motion to dismiss thus “tests the legal sufficiency of a complaint.”

Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). In order to survive a motion to dismiss,


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a complaint must contain factual allegations that are “enough to raise a right to relief above the

speculative level.” Bell Atl. Corp., 550 U.S. at 555. Additionally, the facts alleged in the

complaint must “state a claim to relief that is plausible on its face.” Id. at 570. The “plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility

that a defendant has acted unlawfully.” Ashcroft, 556 U.S. at 678. In considering a motion to

dismiss for failure to state a claim under Rule 12(b)(6), a court must construe the complaint in

the light most favorable to the plaintiffs and “must assume the truth of all well-pleaded

allegations.” Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir. 2004).

       Finally, contrary to the posture presented by Defendant’s Motion, a “motion [to dismiss]

is not a procedure for resolving a contest .... [about] the substantive merits of the plaintiff’s

case.” 5B CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

PROCEDURE § 1356 (3d ed. 2004). “[T]he purpose of a motion [to dismiss] under Federal Rule

12(b)(6) is [again] to test the formal sufficiency of the statement of the claim for relief...” Id.

   B. STANDARD OF REVIEW FOR VACATION OF AN ARBITRATION AWARD

       Contrary to Defendant’s contentions, the law does not require that Plaintiffs must prove

something “extraordinary” to justify judicial review of the Award. Doc. 7-1, P. 1 citing Union

Pac. R.R. Co. v. Sheehan, 439 U.S. 89, 93-94 (1978) (per curiam); Northwest Airlines, Inc. v. Air

Line Pilots Ass’n, Int’l, 808 F.2d 76, 80 (D.C. Cir. 1987). Rather, as Defendant concedes, while

the Court’s review of the Award is narrow, it is nonetheless not extraordinary. Under the RLA,

the Award may be vacated for any of the following reasons:

       (a) failure of a Board “to comply with the requirements” of the RLA;

       (b) failure of a Board “to conform, or confine itself, to matters within the scope of its
           jurisdiction;” and



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       (c) “fraud or corruption” by a Board member.

See 45 U.S.C. § 153, First (q); Doc. 1, P.1; and Doc. 7-1, P. 5 citing Sheehan, 439 U.S. at 93-94.

       Moreover, as a matter of case law rather than statute, the Award is also reviewable for

compliance with law and public policy. Doc. 7-1, P. 5 citing Nat’l R.R. Passenger Corp. v.

Fraternal Order of Police, Lodge 189, 855 F.3d 335, 338 (D.C. Cir. 2017) citing United

Paperworkers Int'l Union v. Misco, Inc., 484 U.S. 29, 42, 108 S. Ct. 364, 98 L.Ed.2d 286 (1987).


   C. THE COURT SHOULD DENY DEFENDANT’S MOTION WITH RESPECT TO
      PLAINTIFFS’ FIRST CLAIM BECAUSE PLAINTIFFS HAVE PROPERLY
      PLEADED THAT THE SBA EXCEEDED ITS JURISDICTION UNDER THE
      ARBITRAL SUBMISSION

       Plaintiffs’ Complaint first seeks to vacate the Award based in part on the Atlas SBA’s

consideration of a claim that Defendant failed to raise prior to the arbitration, in violation of the

CBA as well as the parties’ past practice. By considering a claim not submitted to arbitration

before it, the SBA Award did thus not “confine itself” to the matters within the “scope of its

jurisdiction.”

       In this regard, much of the Atlas SBA’s ruling hinged upon the Defendant’s claims based

upon Section 1.F.2(ii) of the 2011 CBA. Plaintiffs allege in their Complaint that the Atlas CBA

and past practice barred Defendant from raising claims under Section 1.F.2(ii) for the first time

at arbitration because Defendant had not made the Union aware of its claim prior to the date of

arbitration. Plaintiffs further allege that the CBA and past practice required Defendant to make

the Plaintiffs aware of its claim before the arbitration began. Defendant’s grievance prior to the

date of arbitration relied solely upon an argument that a different section was triggered and was




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silent as to Section 1.F.2(ii). Paragraph 33 of the Complaint lays out Plaintiffs’ jurisdictional

claim:

         The 2011 Atlas-Polar CBA limits the jurisdiction of the Atlas System Boards of
         Adjustment to consider and address only the issue proffered in the written grievance
         itself, as well as any issue arising from the subsequent processing of the grievance.
         Management grievances involving disputes relating to Section 1 of the 2011 Atlas-Polar
         CBA, such as the Atlas Grievance, are not subject to ‘subsequent processing’ and are
         instead submitted directly to the System Board of Adjustment.

         Not surprisingly, Defendant’s Motion ignores the Plaintiffs’ allegations in Paragraph 33

of the Complaint, since acknowledging it would require Defendant to acknowledge that the

substantive arbitrability issue of whether the Atlas SBA had jurisdiction to consider this claim

under the CBA can only be resolved by interpreting the CBA here and inquiring into the parties’

past practice regarding issues that may properly be raised at arbitration. As such, it is a claim that

brings into play factual disputes that are not subject to resolution by means of a Fed. R. Civ. P.

12(b)(6) or 12(c) motion. This very basic question of whether the SBA exceeded its jurisdiction

was properly pleaded in the Complaint and clearly provides a ground for relief as expressed in

the RLA statute itself.

   D. THE COURT SHOULD DENY DEFENDANT’S MOTION WITH RESPECT TO
      PLAINTIFFS’ SECOND CLAIM BECAUSE PLAINTFFS HAVE PROPERLY
      PLEADED THAT THE AWARD IS CONTRARY TO FEDERAL LAW AND
      PUBLIC POLICY

         Plaintiffs also have a plausible claim that the SBA’s Award violates their union

members’ rights under the McCaskill-Bond Amendment, 49 U.S.C. § 42112 (McCaskill-Bond”),

by ordering Defendant to issue a seniority list within 45 days. But McCaskill-Bond calls for a

process of negotiation and then arbitration to integrate seniority lists in a “fair and equitable”

manner. Id. The Award, however, ordered the parties to create a list in a brief time period – 45




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days -- that effectively precludes the two pilot groups from engaging in this a process that would

include negotiation and if necessary, separate statutory arbitration. Doc. 1, Pp. 13-14, ¶ 36.

       Defendant’s arguments do not refute Plaintiffs’ claim that the Award violates its

members’ substantive right to a deliberative process that permits them to engage in negotiation

and arbitration to determine their ultimate seniority placement after merger. Defendant claims

instead that McCaskill-Bond allows a union’s policies to apply to integrate a seniority list when

merging groups are all represented by that union. First, Defendant references a formal IBT

merger policy (which the IBT had determined did not apply here). Second, Defendant alleges

and an “informal” IBT policy “based on a simple date-of-hire approach” as a supposed substitute

for proceeding under McCaskill-Bond’s negotiation and arbitration requirement. However,

Defendant’s citation to matters outside the pleadings require the Court to inquire into factual and

legal questions about IBT policy and the application of McCaskill-Bond in prior seniority

integration cases. These issues have not been developed before this Court and are not properly

resolved by means of a motion to dismiss.

       But it is enough here that the Plaintiffs have raised a plausible claim that the Award, and

in particular the order that an ISL be produced within a very limited time period, violated

McCaskill-Bond’s substantive requirements and public policy – plainly a recognized ground for

vacating an award under the RLA.

   E. THE COURT SHOULD DENY DEFENDANT’S MOTION WITH RESPECT TO
      PLAINTIFFS’ THIRD CLAIM BECAUSE PLAINTIFFS HAVE PROPERLY
      PLEADED THAT THE AWARD EXCEEDED THE JURISDCTION OF THE SBA
      BY AFFECTING THE RIGHTS OF SOUTHERN AIR PILOTS OVER WHICH
      THE ATLAS SBA HAS NO AUTHORITY




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        Plaintiffs also plausibly allege in their Complaint that the Atlas SBA, in ordering the

Atlas pilots and necessarily the Southern Air pilots to integrate their seniority lists, acted beyond

its jurisdiction again.

        Section 21.B.1 of the Atlas CBA states as follows:

        As provided by the Railway Labor Act, as amended, the [System] Board [of Adjustment]
        shall have jurisdiction over all disputes between a Crewmember and the Company, or
        between the Company and the Union, growing out of the interpretation or application of
        any of the terms of this Agreement or amendments thereto.

Doc. 1, P. 5, ¶ 12. The term “Crewmember” does not include Southern pilots.

        Defendant states in its Motion that the Atlas SBA could not have acted beyond its

jurisdiction because it did not reference the Southern Air pilots, and also because, apparently, if

the SBA did act beyond its jurisdiction there is no foul because the Southern Air SBA’s actions

in a prior decision complemented the actions of the Atlas SBA. Doc. 7-1, P. 22.

        First, Defendant’s argument that the Award did not violate Southern Air pilots’ rights by

applying the Atlas CBA to them wholly ignores that the Union for the purposes of the Atlas

CBA represents only Atlas Air pilots; the Union’s representation of Southern pilots is dictated by

the terms of the Southern CBA. The terms of the Southern CBA cannot be ruled upon by the

Atlas SBA. Concededly, by combining the seniority list of both pilot groups into a binding

seniority list with new relative seniority among all pilots, the rights of Southern pilots are

necessarily affected – there cannot be a combined list without them. Plaintiffs in their Complaint

explain this dichotomy and the issues the Award causes, (e.g., issues in relation to the duty of

fair representation) for the Union in its representation of each of the pilot groups. Doc. 1, P. 15-

17, ¶¶ 41, 42.




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        But Defendant ignores the fact that Atlas and Southern pilots’ right to challenge the

accuracy of their respective seniority lists was disregarded by the Award’s dictate that a

completed SLI list be provided by the Union before the period during which each pilot group

could challenge their respective lists had ended. Further, the Defendant did not address the

argument that the Award violates pilots’ rights under their respective CBAs because Nicolau

ordered the production of an integrated list even while Atlas and Polar pilots are still awaiting an

arbitrator’s resolution of a seniority list dispute involving their seniority list which will have an

impact on the final SLI integration of Atlas, Polar and Southern crew members. Finally, contrary

to Defendant’s assertion, the issue is not whether an arbitrator has the authority to fashion a

remedy – an arbitrator has that authority, albeit with limits as explained above – but rather is

whether in exercising that authority the arbitrator acted beyond his authority, or jurisdiction.

Doc. 7-1, P. 22. Here, by ordering an unduly expedited production of an integrated seniority list

contrary to McCaskill-Bond, the terms of the CBA regarding challenges to the seniority list, and

the outstanding arbitral dispute regarding the Atlas-Polar seniority list, the Atlas SBA acted

plainly beyond its jurisdiction.

        Second, it is no answer that Arbitrator Nicolau, in ordering the Union to abide by his

interpretation of Section 1.F of the Atlas CBA did no more than complement the Southern Air

SBA’s Award; his Award essentially ordered the Union to apply the terms of Section 1.F of the

Atlas CBA to Southern Air pilots, over whom as the Chairman of the Atlas SBA he had no

jurisdiction.

        Again, Plaintiffs have properly pleaded a ground for vacation of the Award – that the

Atlas SBA exceeded its jurisdiction in ordering a draconian remedy to integrate the seniority lists

contrary to the terms of McCaskill-Bond, public policy and against the contractual and statutory



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rights of the Southern Air pilots, over which it concededly had absolutely no jurisdiction.

Defendant motion to dismiss must be denied.

   F. THE COURT SHOULD DENY DEFENDANT’S MOTION WITH RESPECT TO
      PLAINTIFFS’ FOURTH CLAIM AS PLAINTIFFS HAVE PROPERLY
      PLEADED THAT THE AWARD VIOLATES THE RLA

       Plaintiffs further make the plausible claim that the Atlas SBA in ordering the Atlas pilots,

and in effect the Southern Air pilots, to integrate their seniority lists, violated the requirements of

the RLA. For, the SBA unilaterally ordered the union to abandon Section 6 bargaining for both

pilot groups and inexplicably declared that the labor protective provision “Allegheny-Mohawk is

not required in this case,” extinguishing pilot rights under the McCaskill-Bond Amendment, 49

U.S.C. § 42112, which guarantees them the right to negotiate and arbitrate for a “fair and

equitable” ISL, as stipulated in Sections 3 and 13 of the Allegheny-Mohawk labor protective

provisions.

       Suffice it to say, Section 204 of the RLA requires the carrier and the union to, inter alia,

“establish a board of adjustment of jurisdiction not exceeding the jurisdiction which may be

lawfully exercised by system, group, or regional boards of adjustment, under the authority of

section 153 of this title.” 45 U.S.C. § 184. Section 2, Seventh and Section 6 of the RLA

proscribe “[c]hange[s] in pay, rules, or working conditions contrary to agreement.” 45 U.S.C. §

152, Seventh; see also 45 U.S.C. § 156 (“rates of pay, rules, or working conditions shall not be

altered”). It is hornbook law that an SBA does not have jurisdiction to interpret federal law, such

as the RLA or McCaskill-Bond.

   1. The Order to Abandon RLA Section 6 Bargaining Exceeds the Jurisdiction of the Atlas
      SBA




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       As set pleaded in the Complaint, in November 2015, the Union notified Atlas, on behalf

of the Atlas pilots, of its desire to negotiate amendments to the 2011 Atlas CBA pursuant to

Section 6 of the RLA. Doc. 1, P. 5, ¶ 14. The parties met in December 2015 and January 2016

and scheduled further negotiation sessions in February and March 2016. Id., Pp. 5-6, ¶ 14.

AAWW announced the acquisition of Southern Air in January 2016. Id., P. 6, ¶ 15.

       The Union had also, in November 2015, notified Southern Air, on behalf of the Southern

Air pilots, of its desire to negotiate amendments to the 2012 Southern Air CBA pursuant to

Section 6 of the RLA. Id., P. 6, ¶ 16. The parties had scheduled, prior to the announcement of

the acquisition, negotiation sessions to begin in early 2016. Id. At the time of the announcement

of the acquisition, AAWW demanded the cessation of the negotiations, pursuant Section 6 of the

RLA, between Atlas and Southern Air and the Union, and thereafter in March and April 2016

Atlas and Southern Air, respectively, unilaterally ceased the negotiations. Doc. 1, Pp. 7-8, ¶ 17.

       In the Award, the Atlas SBA ordered “the Union to comply with the merger provisions of

Section 1.F.2 of the CBA, including promptly submitting an ISL, negotiating for a JCBA, and

submitting unresolved bargaining issues to binding interest arbitration if a JCBA has not been

executed within nine (9) months. Doc. 1-1. P. 12. The Award in its addition, subtraction and

amendment of the Atlas CBA and the directive the Union cease negotiations on behalf of the

Atlas and Southern Air pilots violates Section 204 of the RLA, 45 U.S.C. § 184, and the status

quo procedures of Section 2, First and Seventh, 45 U.S.C. § 152, and Section 6 of the RLA, 45

U.S.C. § 156.

       Specifically, Plaintiffs’ Complaint, and the referenced Award, plausibly set forth that the

Atlas SBA acted beyond its jurisdiction, in violation of Section 204 of the RLA, 45 U.S.C. § 184

(“It shall be the duty of every carrier and of its employees, acting through their



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representatives…to establish a board of adjustment of jurisdiction not exceeding the jurisdiction

which may lawfully exercised by system, group or regional boards of adjustment, under the

authority of section 153 [of the RLA].”)       Doc. 7-1. P. 23. The Atlas SBA was without

jurisdiction to issue a remedy that orders the participation of the Southern Air pilots in the

submission of an ISL with the Atlas pilots, the negotiation with the Atlas pilots of a JCBA and

that the Southern Air pilots to submit any unresolved negotiation matters to interest arbitration.

If there was such an order to Southern Air pilots, in accordance with Section 204 of the RLA, 45

U.S.C. § 184, that order must be issued by the Southern Air SBA, which has jurisdiction over the

Southern Air pilots and the Southern Air CBA but conversely not the Atlas pilots and the Atlas

CBA. Further, it does not matter, contrary to the assertion of Defendant in its Motion, that the

Award does not specifically reference the Southern Air pilots and Southern Air CBA – the

remedy, in its order of an ISL and the negotiation of a JCBA, unavoidably implicates the

Southern Air pilots and the Southern Air CBA – and that the Award may be consistent with the

Southern Air CBA – the Atlas SBA has no jurisdiction over the Southern Air CBA. Doc. 7-1, P.

23.

       Plaintiffs’ Complaint, and the references therein to the Award, additionally set forth a

plausible claim for violation of the RLA’s status quo provisions. See Section 2, Seventh, 45

U.S.C. § 152 (“No carrier, its officers, or agents shall change the rates of pay, rules, or working

conditions of its employees, as a class, as embodies in agreements except in the manner

prescribed in such agreement or in section 156 [of the RLA].”); and Section 6 of the RLA, 45

U.S.C. § 156 (“In every case where such notice of intended change has been given, or

conferences are being held with reference thereto, or the services of the Mediation Board have

been requested by either party…rates of pay, rules, or working condition shall not be altered by



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the carrier until the controversy has been finally acted upon, as required by section 155 [of the

RLA], by the Mediation Board…”).

        The Union, on behalf of the Atlas and Southern Air pilots, filed notice with their

respective carriers, pursuant to Section 6 of the RLA, 45 U.S.C. § 156. Doc. 1, P. 5-6, ¶¶ 14, 16.

The Union further, on behalf of the Atlas pilots, requested the services of the National Mediation

Board in April 2016, pursuant to Section 5 of the RLA, 45 U.S.C. § 155. Doc. 1, P. 8, ¶ 20.

Section 6 of the RLA dictates, because of the filing of the Section 6 notice with Atlas and the

request for the services of the NMB, preservation of the status quo and that this matter be

disposed of in accordance with the major dispute resolution procedures. The Atlas SBA was

without authority, and in violation of the RLA, in issuing its Award, as this matter is not a minor

dispute. This matter is not a matter of contract, contrary to the assertion of Defendant in its

Motion, and whether the Atlas SBA had the authority to interpret a procedural provision in the

Atlas CBA. Doc. 7-1, P. 25. It is rather a matter of law, and whether the Atlas SBA had the legal

authority to act in this matter, which it did not.

        If, however, the Atlas SBA had authority to act in the matter, its remedy does in fact

compel changes of “the rates of pay, rules, or working conditions” of the Atlas pilots in that it

compels, first, with its order of an ISL, a change in the seniority of the Atlas pilots and the

attendant provisions in the Atlas CBA, and second, with its order to negotiate a JCBA, a change

in the “rates of pay, rules, or working conditions” of the Atlas pilots to account for the “rates of

pay, rules, or working conditions” of the Southern Air pilots, or lastly, if not able to negotiate the

amalgamation of the “rates of pay, rules, or working conditions” of Atlas and Southern Air

pilots, an arbitrator in interest arbitration will compel the change. The Award does not exist in

isolation. To assert otherwise is to be detached from reality. Doc. 7-1, P. 24.



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       Finally, Defendant asserts in its Motion the Award is not violative of the RLA because

the Atlas CBA provides for an alternative to the major dispute resolution procedures of the RLA.

Doc. 7-1, P. 24. If, again, the Atlas SBA had the authority to interpret and enforce the alternative

provisions in the Atlas CBA, this matter is distinguishable from the cases cited by Defendant.

Doc. 7-1, Pp. 24-25. In this matter, the parties with respect to both the Atlas and Southern Air

pilots were in Section 6 negotiations, and in relation to the Atlas negotiations the Union had

requested the services of the NMB. In the cited cases, the parties had not entered into Section 6

negotiations, nor had a party requested the services of the NMB. Seaboard World Airlines, Inc.

v. TWU, 443 F.2d 437, 439 (2d Cir. 1971); Trans Int’l Airlines, Inc. v. IBT, 650 F.2d 949, 960-61

(9th Cir. 1980); and ALPA v. Alaska Airlines, Inc., 2005 WL 2898140, at *1 (W.D. Wash. Oct.

28, 2005). The parties’ negotiations pursuant to Section 6 of the RLA triggered and made

exclusively applicable the major dispute resolution procedures of the RLA. The Atlas SBA was

therefore without authority to act in this matter, and by so acting, in violation of the RLA.

   2. The SBA Exceeded its Jurisdiction by Declaring that the Labor Protective Provisions of
      Section 3 and 13 of Allegheny-Mohawk are Inapplicable, Contrary to the Express Terms
      of McCaskill-Bond Amendment, 49 U.S.C. § 42112, which Guarantees Pilots the Right to
      Negotiate and Arbitrate for a “Fair and Equitable” ISL

   Plainly, the Atlas SBA exceeded its authority by declaring that the Labor Protective

Provisions of Allegheny-Mohawk do not apply. The McCaskill-Bond Amendment provides:

       With respect to any covered transaction involving two or more covered air
       carriers that results in the combination of crafts or classes that are subject to the
       Railway Labor Act (45 U.S.C. 151et seq.), sections 3 and 13 of the labor
       protective provisions imposed by the Civil Aeronautics Board in the Allegheny-
       Mohawk merger (as published at 59 C.A.B. 45) shall apply to the integration of
       covered employees of the covered air carriers; except that—

       "(1) if the same collective bargaining agent represents the combining crafts or
       classes at each of the covered air carriers, that collective bargaining agent's




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       internal policies regarding integration, if any, will not be affected by and will
       supersede the requirements of this section; and
       ...
       ‘(2) the requirements of any collective bargaining agreement that may be
       applicable to the terms of integration involving covered employees of a
       covered air carrier shall not be affected by the requirements of this section as to
       the employees covered by that agreement, so long as those provisions allow for
       the protections afforded by sections 3 and 13 of the Allegheny-Mohawk
       provisions. …

       49 U.S.C. § 42112, Note § 117. (Emphasis added).

       In 1972, the Civil Aeronautics Board established a set of Labor Protective Provisions in

the Allegheny-Mohawk case. Allegheny-Mohawk, 59 C.A.B. 19, 45 (1972), App. B which have

provided for fair and equitable standards and procedures in seniority list integrations in the

airline industry. Sections of the Allegheny-Mohawk LPPs established the fair and equitable

standard for seniority integration, stating:


       Insofar as the merger affects the seniority rights of the carriers' employees,
       provisions shall be made for the integration of seniority lists in a fair and
       equitable manner, including, where applicable, agreement through collective
       bargaining between the carriers and the representatives of the employees affected.
       In the event of failure to agree, the dispute may be submitted by either part for
       adjustment in accordance with section 13.

       Allegheny-Mohawk, 59 C.A.B. at 45.

   Section 13 mandates arbitration of disputes with employees that arose in this process

or under any of the other provisions of the Allegheny-Mohawk LPPs. Section 13

provides:


   a. In the event that any dispute or controversy (except as to matters arising under
      section 9) arises with respect to the protections provided herein which cannot be
      settled by the parties within 20 days after the controversy arises, it may be
      referred by any party to an arbitrator selected from a panel of seven names
      furnished by the National Mediation Board for consideration and determination.
      The parties shall select the arbitrator from such panel by alternatively striking



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       names until only one remains, and he shall serve as arbitrator. Expedited hearings
       and decisions will be expected, and a decision shall be rendered within 90 days
       after the controversy arises, unless an extension of time is mutually agreeable to
       all parties. The salary and expenses of the arbitrator shall be borne equally by the
       carrier and (i) the organization or organizations representing employee or
       employees or (ii) if unrepresented, the employee or employees or group or groups
       of employees. The decision of the arbitrator shall be final and binding on the
       parties.
   b. The above condition shall not apply if the parties by mutual agreement determine
      that an alternative method for dispute settlement or an alternative procedure for
      selection of an arbitrator is appropriate in their particular dispute. No party shall
      be excused from complying with the above condition by reason of having
      suggested an alternative method or procedure unless and until that alternative
      method or procedure shall have been agreed to by all parties.
   On its face, the Atlas CBA does not extinguish any rights under Allegheny-Mohawk. It does

not even mention it. Nor does the CBA mention McCaskill-Bond. But in one fell swoop the SBA

extinguished the rights of pilots to a fair integration and to contest any seniority list through

statutory McCaskill-Bond arbitration. This is true despite the fact that McCaskill-Bond expressly

requires that Allegheny-Mohawk apply. Not only is this a complete rewrite of the CBA, but also

it completely violates these federal standards for seniority integrations as a matter of law. This is

completely contrary to public policy and subjects the parties to potentially limitless lawsuits by

affected pilots. The SBA’s construction of this federal law exceeded its jurisdiction, was patently

erroneous, and therefore, the Plaintiffs have stated a valid claim in their Complaint to be sure.

   G. DEFENDANT FAILED TO REFUTE PLAINTIFF’S CLAIM FOR
      PRELIMINARY AND INJUNCTIVE RELIEF

       The Union further sets forth a plausible claim for preliminary and permanent injunctive

relief in this matter, to wit: an order prohibiting Atlas from enforcing the Award against the

Southern Air pilots and the Union as the representative of the Southern Air pilots. Doc. 1, P. 20,

¶¶ 57, 58.




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        With respect to an application for preliminary injunctive relief, a court must generally

consider whether:

        (1) the party seeking the injunction has a substantial likelihood of success on the merits;

        (2) the party seeking the injunction will be irreparably injured if relief is withheld;

        (3) an injunction will not substantially harm other parties; and

        (4) an injunction would further the public interest.

CSX Transportation, Inc. v. Williams, 406 F. 3d 667, 670 (D.C. Cir. 2005).

        An injunction under the RLA does not require evidence of irreparable injury. Atlas Air,

Inc. v. International Brotherhood of Teamsters, 280 F.Supp.3d 59, 88 (D.D.C. 2017) citing

Consolidated Rail v. Railway Labor Execs.' Ass'n, 491 U.S. 299, 303 (1989) (“The district courts

have subject-matter jurisdiction to enjoin a violation of the status quo pending completion of the

required procedures, without the customary showing of irreparable injury.”); see also S. Ry. Co.

v. Bhd. of Locomotive Firemen & Enginemen, 337 F.2d 127, 133–34 (D.C. Cir. 1964).

        Pending this litigation, the Court should preserve the status quo and prevent Defendant

from enforcing the Award, including seeking to abandon Section 6 negotiations and proceeding

with interest arbitration. While Defendant may claim that it has a right to force the Atlas and

Southern pilots into an interest arbitration over a JCBA, if it does so it will extinguish rights

preserved by the RLA and McCaskill Bond Amendment, and potentially subject the parties to

endless litigation.

        In addition to the injury to the statutory purposes and machinery of the RLA, any

attempted enforcement of the Atlas System Board’s August 26, 2019 Decision and Award will

injure the Union and the Atlas and Southern pilot groups it separately represents in ways that

cannot be measured accurately in terms of money, either as to extent or amount.



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        Any effort to enforce the Atlas System Board’s August 26, 2019 Award will have the

proximate effect of compelling the Union to extinguish the contractual rights of the Atlas pilot

group regarding a dispute with their company over whether they are required to engage in

contractual merger negotiations for a joint collective bargaining agreement with the Southern

pilot group and engage in seniority integration negotiations with the Southern pilot group,

thereby undermining the Union’s status as both pilot groups’ collective bargaining representative

and subjecting the Union to potential liability for breaching its duty of fair representation to both

pilot groups. Any such effort to enforce the Atlas System Board’s August 26, 2019 Award,

moreover, is contrary to the public interest in stable labor relations and the maintenance of

agreements.

        The injury that would be suffered by the public, the Union and both the Atlas and

Southern pilot groups would be irreparable and could not be recovered in an action at law or in

administrative or contractual proceedings. Atlas Air will not be injured by the grant of injunctive

relief in this case.

        For all the foregoing reasons, Plaintiffs are without an adequate remedy at law and will

suffer serious, substantial and irreparable injury unless enforcement of the Atlas System Board’s

August 26, 2019 Decision and Award is enjoined. The public interest in the RLA and interstate

commerce requires that injunctive relief issue.


IV.     CONCLUSION

        Accordingly, for all the foregoing reasons and for the reasons set forth in the Complaint,

Plaintiffs respectfully request that the Court deny Defendant’s Motion to Dismiss.




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Dated: November 15, 2019           Respectfully submitted,




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                               CERTIFICATE OF SERVICE

        I hereby certify I filed the foregoing Memorandum in Opposition with the Court of Clerk
via the CM/ECF system on this 15th day of November, 2019, and as such the foregoing has been
served on the following:

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